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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

                                    Debtors.                     (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                    Plaintiffs,

                        - against -                              Adv. Pro. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS                                      Adv. Ref. No. 42
BECKSTEAD,

                                    Defendants.


NOTICE OF FILING CORRECTED EXHIBIT TO DECLARATION OF MATTHEW B.
    MCGUIRE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT
PLATFORM LIFE SCIENCES, INC.’S MOTION TO DISMISS THE COMPLAINT FOR
                  LACK OF PERSONAL JURISDICTION

         PLEASE TAKE NOTICE that on September 29, 2023, Alameda Research Ltd. and FTX

Trading Ltd. (the “Plaintiffs”), by and though their undersigned counsel, filed the Declaration of

Matthew B. McGuire in Support of Plaintiffs’ Opposition to Defendant Platform Life Sciences,



1
          The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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Inc.’s Motion to Dismiss the Complaint for Lack of Personal Jurisdiction [Ad. D.I. 42] (the

“Declaration”).

       PLEASE TAKE FURTHER NOTICE that the Plaintiffs hereby file a corrected version

of Exhibit 3 to the Declaration to resolve formatting errors on pages 5, 6, and 29.




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Dated: October 11, 2023            LANDIS RATH & COBB LLP
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                                   -and-

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                                   Counsel for the Debtors
                                   and Debtors-in-Possession




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